                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

SARA HAWES                              Case No. 1:17-cv-00754

                   Plaintiff            Judge Timothy S. Black

      v.

MACY’S WEST STORES, INC.

                   Defendant



                PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                   MOTION FOR SUMMARY JUDGMENT
                                         INTRODUCTION

          Plaintiff Sara Hawes purchased bed sheets from Defendant Macy’s West Stores,

Inc., at one of its California retail locations. 1 Macy’s represented on the packaging and

labeling of the sheets that they had a 900 thread count. 2 Bed sheet thread counts are a

primary and important way in which a retailer communicates quality to consumers. 3 And

a difference in the thread count between two sheets that otherwise have the same

characteristics has a direct influence on pricing: the higher the count, the higher the

price. 4 When Hawes found the sheets to have a lower-quality feel than she expected a

900-count sheet to have, she contacted a consumer-rights attorney to investigate. 5 Expert
testing of the sheets found the thread count was actually 227. 6

          Hawes brought this case—and did so on behalf of a proposed class of California

consumers 7—to seek relief arising from Macy’s thread-count misrepresentations. After

an extensive pleadings battle under Civil Rule 12, the Court approved an operative



1 See Exhibit 1, Photographs of the Packaging, Receipt, and Label of the Sheets Purchased by Ms. Hawes
(Hawes_OH_001 to Hawes_OH_003). Ms. Hawes authenticated the photos during her deposition. See
Exhibit 2, Deposition of Sara Hawes, pp. 132-133.

2   See Ex. 1, Photos.

3 See Ex. 2, Hawes Depo. at 49, 51 (“I have been made to believe … through marketing and advertising … if
sheets have a higher thread count, they are a higher quality sheet…. The knowledge that most people have
that the higher the thread count, the better the sheet.”); see also ECF #64, Third Amended Complaint, ¶¶20-
24 (collecting publicly available surveys regarding the relationship between thread counts and perceptions
of quality); accord ECF #84, Motion for Class Certification, Appendix (collecting publicly available
information regarding consumer use of thread count as a synecdoche for quality); see also ECF #84-1,
Report of Expert Sean Cormier, p. 4 (the association between thread count and quality is well known in the
industry and by the public). Mr. Cormier adopted the opinions in his report during his deposition. See
generally ECF #115-2, Deposition of Sean Cormier.

4 See Exhibit 3, Rule 30(b)(5) Deposition of Macy’s West Stores, Inc. by Designee Danielle Swift, p. 57
(where two sheets have otherwise identical characteristics—weave, size, color, etc.—the one with a higher
thread count will command a higher price); accord Exhibit 4, Deposition of Sal Ciniglio, pp. 31-33, 76.

5   See Ex. 2, Hawes Depo. at 79.

6   See ECF #84-1, Cormier Report at 17; accord ECF #115-1, Rebuttal Report of Expert Sean Cormier.

7 See generally ECF #84, Certification Motion (seeking to represent a class of California consumers who
purchased CVC sheets from Macy’s retail locations).


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complaint with eight causes of action: three under the California Unfair Competition Law;

one under the California Business & Professions Code; one under the California

Consumer Legal Remedies Act; and three under the common law (express warranty,

fraud, and unjust enrichment. 8 Macy’s recently filed a Motion for Summary Judgment

(ECF #117) that again seeks dismissal of certain claims under pleading rules: the prayers

for equitable (pp. 11-13) and injunctive relief (pp. 29-31), and the unjust enrichment

claim (p. 21). We address these issues in Section II of the Argument below.

        Macy’s also deploys what it calls a garden-variety “innocent retailer defense.” (Id.

at 4, 14-20.) Macy’s claims that it did not participate in, have control over, adopt, or even

know about the thread-count misrepresentations it made on the packaging and labels of

the bed sheets it sold in its retail locations. (Id. at 14-15, 18-20.) These assertions are so

entirely contrary to the record. What the evidence shows is this:

•       Macy’s knows that an international industry-governing standard, ASTM
        3775, controls how to count threads in the Chief Value Cotton (CVC) sheets.

•       Macy’s bed sheets are supplied by an importer called AQ Textiles, which is
        led by Larry Queen, who quickly grew the business by promising high-
        thread-count sheets at prices which somehow undercut his competitors.

•       Queen long ago disclosed to Macy’s that he had developed an alternative
        approach on how to count threads in CVC sheets, but that it had not been
        accepted by the ASTM, despite his lobbying efforts.

•       AQ repeatedly provided Macy’s with thread-count testing reports which
        confirmed that the counting method was Queen’s own and not the ASTM-
        standard method.

•       Macy’s personnel worked closely with AQ personnel in developing the
        packaging and labels of the sheets, with Macy’s ultimately responsible for
        the representations on them.


8 See ECF #64, Third Amended Complaint at Counts Two through Nine. Former Plaintiff Amy Hill had

brought an additional claim under Missouri law on behalf of herself and a proposed Missouri class; those
claims have all been voluntarily dismissed. See ECF #72, Stipulation for Dismissal by Amy Hill.


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•      Despite Macy’s actual and constructive knowledge that the thread-count
       representations it was making were inconsistent with the ASTM standard—
       and instead dramatically inflated the counts using Queen’s alternative
       counting method—Macy’s continued to defraud its customers.
We set forth this evidence in further detail in the Statement of Relevant Facts below;

and we address the legal significance of these facts in Section III of our Argument.

       Macy’s also argues that Hawes has not put forth any evidence of damages. (ECF

#117 at 22-28.) As an initial matter, it is Macy’s burden at the summary judgment stage

to show that there are no damages, which it fails to do. And most of Macy’s argument is

about qualities unrelated to objective thread-count misrepresentations, like the subjective

softness of the sheets (pp. 28-29), which are not at all relevant to the plaintiff’s claims that

she (and class members) overpaid. We address Macy’s straw-man arguments and set

forth the simple point-of-sale measure of damages (the difference in price between the

sheets as sold with the inflated counts and the sheets as they would have been sold with

the true counts) in Section IV of the Argument below.

       In sum, much of Macy’s motion is a retread of ground this Court has already

covered, and the rest is based on a presentation of facts that is so at odds with the record

that it is a wonder Macy’s put it down on paper. When this Court reviews the actual
evidence gathered in discovery, it should find (at a minimum) that genuine issues of

material fact remain for trial such that summary judgment is manifestly inappropriate

under Civil Rule 56, and therefore the defendant’s motion should be promptly denied.

                              STATEMENT OF THE CASE

       The limited value in reciting the procedural history of this case is to show that

(a) the Court has already heard most of the issues raised by the defendant’s motion;

(b) Macy’s has had ample opportunity to address the pending claims; and (c) Macy’s pull-

out-all-the-stops approach to litigating this straightforward consumer fraud case seeks to

needlessly complicate a simple question for trial—what is the proper method for counting

threads—and misdirect the Court from that remaining genuine issue of material fact.


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       This case is almost four years old. (ECF #1.) Macy’s moved to dismiss the original

complaint (ECF #17) and the Court dismissed two claims (one under the Magnuson-Moss

Act and the other for a breach of the implied warranty of merchantability) but denied the

motion as to the consumer fraud claims (ECF #39). Macy’s sought to certify the Court’s

decision for interlocutory review (ECF #43), which was denied (ECF #54). Hawes filed

an amended complaint (ECF #44), which Macy’s moved to strike (ECF #48), and Hawes

withdrew (ECF #50). Hawes then received leave to file an amended complaint (ECF #54),

and Macy’s moved to strike one of its counts (ECF #57). The Court granted that motion

and ordered Hawes to file an amended complaint clarifying her CLRA claim (ECF #62).

Thus, this Court has had ample opportunity to hear Macy’s arguments about the

pleadings, and has determined which causes of action stated claims. Nothing in the facts

developed during years of discovery should cause this Court to revisit these prior rulings.
                        STATEMENT OF RELEVANT FACTS

       Like the statements of facts in its opposition to class certification and various

expert-related filings, Macy’s Statement of Facts here reads like it was written by someone

who did not review any of the key documents or attend a single deposition in this case. It

is a remarkable departure from the record, which stretches even the generous bounds of

zealous advocacy. Rather than point out every mistake, obfuscation, equivocation, and

outright misstatement, we will simply set forth the critical facts actually in the record

which prove the plaintiff’s case is one that should proceed to trial.
I.     Macy’s Knew About Queen’s Alternative Thread Counts for Years
       and Put the Non-Standard Counts on its Packaging and Labels.

       A.     Queen Uses an Improper Counting Method to Grow His
              Market Share.
       Over 12 years ago, Queen founded AQ to purchase cotton-polyester blend (CVC)

sheets from manufacturers (“mills”) in India owned by his co-adventurers, which AQ




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would supply to retailers, like Macy’s. 9 Queen quickly grew his business by supplying

Macy’s and other retailers with sheets that were purported to have very high thread counts

at unusually low prices. Queen accomplished this by developing his own interpretation

of the industry-governing standard for counting threads, ASTM 3775, and his own

methodology for how to perform the counting.

           ASTM 3775 is not complicated: take a one-inch square of the fabric and, using a

lens, count the number of threads (“yarns”) running on the horizontal direction and add

the number of threads running in the vertical direction. Cotton yarns are made of up

small fibers (“staple”), and polyester yarns are made up of small fibers (“strands”), but

these fibers are not counted—only the yarns are counted under the industry standard.

           Queen, however, interprets ASTM 3775 as permitting the counting of the

individual, almost impossibly thin polyester strands as bona fide yarns themselves. 10 And
he has his own methodology for how to go about counting them by pulling the yarns apart

to separate the strands. (Id.) Queen’s interpretation of the standard is wrong 11—and,

despite his lobbying efforts, 12 the ASTM Committee rejected his proposal to “clarify” the

standard 13–and his methodology has not been generally accepted.

           B.        In a January 2016 Meeting with Macy’s, Queen Explained
                     His Alternative Counting Method.
           Sal Ciniglio used to work for Macy’s as its bed sheets “buyer”—the most important

person related to AQ’s supplying of CVC sheets to Macy’s. 14 In a January 2016 meeting



9    See Exhibit 5, Rule 30(b)(6) Deposition of AQ Textiles through Designee Larry Queen, pp. 10-11.

10   Id. at 58-59.

11   See ECF #84-1, Cormier Report at 13-14, 18.

12   See Ex. 5, Queen Depo. at 48.

13   Id. at 62.

14 See Ex. 5, Swift Depo at 26. Danielle Swift is now the Macy’s “buyer”; she was designed by Macy’s as its
corporate designee on all topics in this case.


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between Macy’s Ciniglio and AQ’s Queen, Queen advised that he had made a “business

decision” to have CVC sheets constructed with “separable” yarns, by which he meant the

polyester threads would be composed of many strands. 15 Queen further advised that he

would count these strands as bona fide threads for purposes of determining the sheets’

thread counts that would be represented to consumers on the sheets’ labeling and

packaging. 16 And Queen agreed that AQ would indemnify Macy’s for any issues arising

from that decision. (Id.)

          Thus, by January 2016—at the latest—Macy’s had clear and unequivocal actual

knowledge that AQ would be providing CVC sheet thread counts based on Queen’s

alternative interpretation of ASTM 3775, and that the counts represented to consumers

would be necessarily inflated by a multiple of the number of strands per polyester thread.

          C.      Macy’s Was Kept Up-to-Date on Queen’s Failed Efforts to
                  Change the ASTM Standard to His Methodology.
          Throughout 2017 and 2018, Queen lobbied the ASTM to change Standard 3775 to

embrace his alternative interpretation and methodology. He made Macy’s aware of his

failed efforts. 17 Indeed, Queen provided Macy’s with a narrative of his efforts, a timeline
of the committee proceedings, and the PowerPoint presentation he was making because

“Macy’s had concern because of what was going on in the market with regard to thread

counts.” 18 Industry leaders, such as the AATC organization, had been describing Queen’s

efforts to count separable polyester strands as though they were individual yarns

(threads) as an “ongoing saga,” actively questioning whether Queen’s methodology would

be “deceptive” from the “consumer perspective.” 19 By October 2018, Queen was arguing

15   See Ex. 4, Ciniglio Depo. Exhibit 10.

16   See Ex. 4, Ciniglio Depo. at 64-71.

17   See Ex. 5, Queen Depo. at 64.

18   Id. at 100-101.

19   See Ex. 5, Queen Depo. Exhibit 5.


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to Swift that, “The current [ASTM] methodology is outdated…. I made a presentation

proposing the way sheets should be counted… my methodology.” 20 AQ and Macy’s then

held a meeting to discuss it further, in fact, they had “many meetings.” 21

           Thus, Macy’s had actual knowledge of the Queen-ASTM “saga,” that Queen’s

methods were alternative, and that his interpretation had been rejected by the ASTM, and

therefore his counts were grossly inflated. Moreover, Macy’s had constructive knowledge,

given its involvement in the bed sheet industry, that others in the industry were concerned

about Queen’s thread-counting methods would be deceptive to consumers.

           D.      AQ Provided Macy’s with Spec Sheets and Testing Reports
                   that Confirmed the Use of Queen’s Alternative Methods.
           “Macy’s requires their suppliers to fill our spec[ification] sheets for every product

that they buy.” 22 The spec sheets AQ provided to Macy’s include the warp and weft
information, the number of polyester strands (sometimes called “picks”) per yarn, and

the purported thread count. 23 Thus, Macy’s has the construction information from which

thread counts are determined, which it could have compared to AQ’s stated thread counts,

which would have confirmed that the counts were not in compliance with ASTM 3775.

           AQ also provided Macy’s test reports. 24 The examples of these testing reports that

were produced in this litigation show that the labs had been instructed to count the tiny,

individual polyester strands, which the labs noted was “not required by ASTM 3775 test

method.” 25 A different lab said it could not provide a standard thread count because of a

“customer requirement” to count “each individual separate thread per pick [i.e.,] strands


20   See Ex. 53, Swift Depo. at 75, 77 & Exhibits 16 & 17.

21   Id. at 77.

22   See Ex. 5, Queen Depo. at 26.

23   Id. at 28.

24   Id. at 69; accord Ex. 3, Swift Depo. at 34.

25   See Ex. 5, Queen Depo. Exhibit 13.


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in each pick.” 26 Another lab wrote that defining the “intermingled / co-mingled / weft

multiple insertions” as separate threads was “a Macy’s policy … apply just for Macy’s not

for every other client.” 27 Emails note: “Generally we can count the multiple insertions per

direction but will not add them into the thread count unless client wants … Macy’s has

this requirement to take into consideration of multiple insertions into thread count.” 28

          Thus, Macy’s had actual knowledge that the labs were using Queen’s alternative

strand-counting method, which was not appropriate under ASTM 3775. The labs refer to

the alternative counting method as a “customer requirement,” “a Macy’s policy,” and a

“Macy’s [ ] requirement.” This Court must infer, at this stage of proceedings, that Macy’s

itself was actively engaged with AQ in imposing the alternative counting method on the

labs that were testing Macy’s CVC sheets.

          E.       Customers Complained to Macy’s about the CVC Sheets.
          Macy’s received numerous complaints about the quality of the purported high

thread count sheets. 29          Given what Macy’s already knew—that Queen had made a

“business decision” to supply CVC sheets constructed using multiple tiny polyester

strands together to form a yarn, but to pass them off as high thread count products—

Macy’s should reasonably have associated customers’ frustrated expectations about the

sheets to arise from the misrepresentations about the sheets’ thread counts.

          F.       Macy’s Approves All Thread Count Representations.
          Macy’s “approves or disapproves” the thread count representations on packaging

in a “collaborative” process between its own team and AQ’s team. 30 Swift testified that


26   Id. at Exhibit 12

27   Id. at Exhibit 3.

28   Id. at Exhibit 4.

29   See Ex. 4, Ciniglio Depo. Exhibits 1-7.

30   See Ex. 5, Queen Depo. at 43-44.


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“AQ and Macy’s work together” to determine thread counts to ascribe to the sheets; but,

ultimately, it is Macy’s that must “bless them.” 31 Thus, despite years of knowledge—both

actual and constructive—that AQ was interpreting ASTM 3775 contrary to industry

standards, and was using Queen’s alternative counting method that multiplied the

polyester yarn-count by the number of strands per such yarn, Macy’s adopted those

counts, working with AQ to label the sheets—and then advertising them under Macy’s

authority—with the vastly inflated thread counts.
II.       Hawes Suffered Economic Harm When She Paid More for the
          Sheets Than She Would Have Paid If the Thread Count Had Been
          Accurate.
          Ms. Hawes testified that she would not have purchased the sheets from Macy’s at

the price offered if she had known that the true thread count was less than what Macy’s

had represented it to be. 32 Indeed, Macy’s and AQ witnesses agreed that Macy’s charges
a higher price for a higher-thread-count sheet, assuming all other characteristics—size,

color, weave, blend, etc.—are held constant. 33 Hawes’s experts agree. 34 And Macy’s own

internal pricing data—as well as the prices offered by Macy’s competitors—demonstrates

that the higher the thread count, the higher the list price. (Id.)

                                               ARGUMENT
I.        Macy’s Fails to Satisfy the Standard for Entering Summary
          Judgment.
          Summary judgment is proper only if there is no genuine issue as to any material

fact and the moving party has proven that it is entitled to judgment as a matter of law.

See FED. R. CIV. P. 56(c). A defendant seeking summary judgment bears the initial burden


31   See Ex. 3, Swift Depo. at 33 (“We always discuss a thread count.”)

32   See Ex. 2, Hawes Depo. at 87.

33   See Ex. 3, Swift Depo. at 57; accord Ex. 4, Ciniglio Depo. at 31-32, 76.

34 See ECF #84-1, Cormier Report at 4; accord ECF #84-4, Report of Expert Stefan Boedeker, ¶¶71-78.

Mr. Boedeker adopted the opinions in his report throughout his deposition. See generally Exhibit 6,
Deposition of Stefan Boedeker; accord ECF #114-1, Boedeker Rebuttal Report.


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of showing the absence of a genuine issue of material fact. See Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). It is only if and after this burden is met that a burden is then

placed on the plaintiff to present some specific facts showing there is a genuine issue for

trial. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In making these

determinations, all evidence must be viewed in a light most favorable to the plaintiff.

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

       Macy’s motion does not satisfy these standards, nor does it even try to do so.

Instead, it points to an issue in the case and says, more or less, ‘Plaintiff hasn’t proven her

case or doesn’t have enough evidence of this or that.” Thus, Macy’s has failed to show that

there are indisputable facts on which this Court could grant it judgment as a matter of

law. Indeed, Macy’s motion is insufficient to even shift the burden to make Hawes present

specific facts on which there is a genuine issue for trial. That said, Hawes has easily made

such a showing here.
II.    Macy’s Pleadings-Based Argument Should Be Rejected.
       Macy’s argues (ECF #117-1 at 13 and then again at 21-22 and a third time from

29-31) that, because Hawes brings breach of warranty and fraud claims which may result

in money damages (i.e., an “adequate remedy at law”), that her prayers for equitable,

injunctive, and restitutionary relief under her California statutory and unjust enrichment

claims must be “dismissed.” This was precisely the argument made in a similar, recent

case, Francis v. GM, 504 F. Supp. 3d 659, 694 (E.D. Mich. 2020), which also included

California statutory claims brought within the Sixth Circuit. There, the district court said:

       GM contends that “the plaintiffs cannot proceed on an unjust enrichment
       theory where their consumer fraud and breach of warranty claims offer
       them an adequate remedy at law for any losses produced by the alleged
       defect.” However, unjust enrichment claims routinely are allowed to
       proceed when pleaded in the alternative to other viable claims for relief.
       “Defendants contend that equitable relief such as unjust enrichment will not
       be granted where an adequate remedy at law exists,” but the plaintiffs “are
       clearly permitted to plead alternative theories of recovery,” and
       “consequently, it would be premature at this stage of the proceedings to
       dismiss … the unjust enrichment claims on this basis.”

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(Internal citations omitted.) This Court should hold the same: Hawes will have to choose

a route of recovery under her alternative claims at trial, but not before.
III.   The Record Does Not Support Macy’s “Innocent Retailer
       Defense” and Instead Demonstrates a Genuine Issue of Material
       Fact Remains for Trial.
       Macy’s says (ECF #117-1 at 14-15) that Hawes’s statutory causes of action require

her to show that Macy’s “somehow participated in, controlled, or adopted the deceptive

advertising” at issue in this case and that her common law causes of action require her to

show that Macy’s “made, controlled, or adopted thread-count representations.” And
Macy’s says (Id. at 18-21) that it did not have actual or constructive knowledge of the false

nature of its thread-count representations.

       As Sections I(B)-(F) of the Statement of Relevant Facts above amply

demonstrate, Macy’s participated or adopted the thread-count misrepresentations, which

it knew or had reason to know were false, because it (1) knew that Queen was using an

alternative interpretation of ASTM 3775 and his own methodology of counting the

strands in a single polyester yarn; (2) knew that the ASTM Committee had rejected

Queen’s interpretation and methodology, despite his long-running lobbying efforts;

(3) received spec sheets and testing reports that showed the use of the improper counting
method was resulting in wildly inflated thread counts; (4) was aware that the industry

was questioning the alternative counting method as deceptive to consumers; and yet

(5) Macy’s worked in collaboration with AQ to develop marketing, packaging, and labels

for the sheets that emphasized thread counts, and over which Macy’s had ultimate

control, “blessing” the counts as its own—backed by the Macy’s brand and good will.

       There is no evidence that Queen secretly adjusted the thread counts, lied about

how the sheets were constructed, prevaricated about his interpretation, equivocated

about his methodology, hid his efforts to lobby the ASTM Committee, or that AQ doctored

the spec sheets or lab reports. To the contrary, Queen was an out-spoken champion of his

own novel interpretation of ASTM 3775, his own method of counting polyester strands as


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though they were real free-standing yarns, and his efforts to lobby the industry to come

around to his way of thinking. And AQ produced spec sheets that identified the multi-

strand polyester yarns and testing reports that counted the strands—and said those

counts were not compliant with the ASTM Standard but were instead at the request of the

“customer,” including Macy’s itself.

       Moreover, Queen had discussions, meetings, and correspondence—dating well

back to January 2016—advising Macy’s of his “business decision” to use multi-strand

polyester yarn construction and to count those strands as individual yarns—and that he

would indemnify Macy’s if there were “any issues” that resulted from that approach,

which was an obvious red flag that this conduct was (at a minimum) highly questionable

and (when viewed in a light most favorable to the plaintiff) admittedly deceptive. Macy’s

went along with plan and was able to obtain from AQ relatively cheap CVC sheets that it

could market at very high thread counts—with price-premiums based on those counts.

       Thus, there is ample evidence that Macy’s knew, for years, exactly what Queen was

doing and Macy’s went along with it, endorsed it, adopted it, and participated in it—all for

its own benefit—and at the expense of consumers like Sara Hawes. Reasonable jurors

could find in her favor on this question, such that there remains a genuine issue of

material fact for trial such that summary judgment would be manifestly inappropriate.
IV.    Hawes Has Set Forth Sufficient Evidence of Injury at this Stage
       of the Litigation.

       A.     Macy’s Utterly Fails to Carry Its Summary Judgment
              Burden on Its Damages-Related Arguments.
       Under Rule 56, Macy’s must meet an initial burden to show that there is no genuine

issue of material fact on the question of damages. To do that here, Macy’s would have to

show that it would’ve listed the Somerset sheets Hawes purchased at the same price had

they been manufactured, advertised, labeled, and sold with only one change in the

product specifications: a lower thread count. Macy’s cannot show this: it does not, could




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not, and cannot show that it would have sold a Somerset sheet with a 900-thread count

and an otherwise identical Somerset sheet with a 250-thread count for the same price.

       This simple fact is dispositive of Macy’s damages arguments. So Macy’s tries to

avoid it by, instead and improperly, asking the Court to impermissibly place the initial

burden on Hawes to prove that there are damages. But that’s now how summary

judgment works. In any event, there is ample evidence of plausible damages in the record,

such that Macy’s is double-wrong.
       B.     Genuine Issues of Fact Obviously Remain on Damages
              Questions.
       Macy’s makes a half-hearted attempt (ECF #117-1 at 17-18) to argue that Hawes

has not shown sufficient evidence that her sheets actually had lower thread counts than

Macy’s had represented them to have. As an initial matter, there is no dispute that the

Queen interpretation of ASTM 3775 and AQ method of counting the strands that make

up polyester yarns will necessarily result in a higher count. Since there is no dispute that

the Queen interpretation and method was applied to the counts of the sheets in this case,

including those purchased by Hawes, there is no question but that the sheets had an

inflated count as sold by Macy’s and would have to have been marked with a much lower
count had they been properly counted under the ASTM 3775 industry interpretation and

standard methodology.

       The rest of Macy’s argument is a regurgitated attack on Hawes’s expert, Sean

Cormier, that Macy’s counsel has made in other expert-related motion practice. We do

not waste more of the Court’s time responding to them at length here. In short, Mr.

Cormier is beyond-qualified to testify about how CVC sheets are constructed, how the

ASTM 3775 method applies to them, what the actual thread counts under that method

are for sheets in this case, and how Queen’s method departs from the industry standard

and results in much higher thread-count representations. Mr. Cormier did conduct an




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ASTM 3775 thread-count test of Ms. Hawes’s sheets and found that the true count was

227, not the 900-count Macy’s claimed.

       The balance of Macy’s brief (pp. 22-29) is an attack on Hawes’s class damages

expert, Stefan Boedeker, coupled with a misguided series of arguments that Hawes did

not suffer any damages from the thread-count misrepresentation. As for Boedeker, once

again, Macy’s counsel are re-briefing expert-related motions that we’ve dealt with in other

filings. In short, Boedeker is a well-credentialed expert capable of conducting different

economic analyses of products and markets—in this instance, a regression analysis or a

conjoint analysis—to determine the price premiums consumers paid as a result of a

misrepresentation by a retailer about an objective characteristic of a household good like

a bed sheet.

       Moreover, the traditional measure of damages in consumer fraud cases, which is

what Hawes seeks here, is the difference between the price paid and the price which would

have been paid absent the deception. See Broomfield v. Craft Brew All., Inc., 2018 WL

4952519, at *16-17 (N.D. Cal. Sept. 25, 2018); accord Brazil v. Dole Packaged Foods,

LLC, 2014 WL 2466559, at *15 (N.D. Cal. May 30, 2014). As set forth in Section II of

the Statement of Relevant Facts above, there is sufficient evidence that Hawes

suffered an economic damage—in the form of a price premium—to sustain her case at the

summary-judgment stage. First, she herself testified she would not have paid out-of-

pocket the same price for the sheets if she had known the thread count was less than what

was represented. Second, all the witnesses and experts in this case agree that a lower

thread count sheet commands a lower price. And third, Macy’s own pricing data supports

this inference.

                                    CONCLUSION

       Defendant Macy’s Motion for Summary Judgment (ECF #117) should be denied

and Plaintiff Hawes’s claims should proceed to trial. This Court should also grant the




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pending Motion for Class Certification (ECF #84) so that the claims can be determined

on a class-wide basis in a single adjudication for all California consumers.

                                             Respectfully submitted,

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      This opposition brief was filed on the Court’s ECF System, through which it will be

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                                          16
